            Case 3:03-cr-00850-W                            Document 553               Filed 11/21/06                PageID.3288         Page 1 of 5




 ~AO    24513   (Rev. 9/00) Judgment in a Criminal Case
                Sheet 1

                                      UNITED STATES DISTRICT COU
                                                        SOUTHERN DISTRICT OF CALIFORNIA

                   UNITED      STATES         OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                         v.                                             (For Offenses Committed On or After November I, 1987)

                         John Joseph Zane (18)                                          Case Number:              03CR0850-W

                                                                                        Jeremy        D. Warren
                                                                                        Defendant's    Attorney
REGISTRATION NO. 92512198
THE DEFENDANT:
X      pleaded guilty to count(s)               thirty of the superseding indictment and a one count information

       Accordingly, the defendant is adjudged guilty of such count( s), which involve the following offenses:
                                                                                                                                              Count
Title & Section                              Nature of Offense                                                                              Number(s)
26 use 7201                                 Tax Evasion                                                                                        S30
18 use 1956(a)(I)(A)(i)                     Money        Laundering                                                                             SSI




   The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant                            to the
Sentencing Reform Act of 1984.


X      Count( S)    remaining superseding counts and the underlying indictment   are      dismissed on the motion orthe United States.



x Assessment:            $ 200.00 payable forthwith.
X   Fine ordered waived.
           IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence,
to          or mailing
    pay restitution, theaddress untilshall
                         defendant    all fines,
                                            notifyrestitution,
                                                    the court costs, and special
                                                               and United   Statesassessments
                                                                                    attorney ofimposed by thischange
                                                                                                any material   judgment  are defendant's
                                                                                                                     in the   fully paid. If ordered
                                                                                                                                          economic
circumstances.




                                                                                       THOMAS J
                                                                                       UNITED STAT
AO 24513    Case     3:03-cr-00850-W
             (Rev. 9/00) Judgment in Criminal Case Document 553              Filed 11/21/06         PageID.3289            Page 2 of 5
              Sheet 2 -   Imprisonment

                                                                                                      Judgment -   Page   _2   _   of    .2.

DEFENDANT:                        John Joseph Zane
CASE NUMBER:                      03CR0850- W


                                                               IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
 12 months and 1 day, on each count, to run concurrently.




o          The court makes the folIowing recommendations to the Bureau of Prisons:




o       The defendant is remanded to the custody of the United States Marshal.

X       The defendant shalI surrender to the United States Marshal for this district:

                              By 12:00 noon          o a.rn.     o p.rn.        on    1/5/07

        o        as notified by the United States Marshal.

o      The defendant shalI surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o         before 2 p.rn. on
       o         as notified by the United States Marshal.
       o         as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

I have executed this judgment as folIows:

       Defendant delivered on                                                              to

at   ________________                                 , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                           By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 24513     Case     3:03-cr-00850-W
              (Rev. 9/00) Judgment in a Criminal Case Document 553                               Filed 11/21/06              PageID.3290                    Page 3 of 5
               Sheet 3 -   Supervised   Release

                                                                                                                                   Judgment-Page             ----3.....- of   ----5.
      DEFENDANT:                    John Joseph Zane
      CASE NUMBER:                  03CR0850- W

                                                                          SUPERVISED RELEASE

      Upon release from imprisonment,               the defendant         shall be on supervised        release   for a term of 3 years, each count, concurrently.
                                                                   MANDATORY CONDITIONS

            The defendant shall report to the probation                  office in the district     to which the defendant       is released    within 72 hours of release from
      the custody of the Bureau of Prisons.

      The defendant     shall not commit          another     federal,    state or local crime.

      The defendant     shall not illegally       possess     a controlled       substance.
      For offenses    cOlI/lI/itted on or after Septell/ber          /3, /994:
           The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                               shall submit to one drug test within
      15 days of release from imprisonment   and at least two periodic drug tests thereafter.

      X    The above drug testing condition                 is suspended,      based on the court's      determination       that the defendant       poses a low risk of
           future substance abuse.

           The defendant      shall not possess        a firearm,        destructive   device,     or any other dangerous       weapon.

                 Drug testing requirements    will not exceed submission of more than eight drug tests per month during the term of supervision,
                 unless ordered by the Court.
                 The
                 If thisdefendant
                         judgment shall cooperate
                                   imposes         as adirected
                                            a fine or    restitutionin the collection it of
                                                                        obligation,         a DNA
                                                                                         shall       sample, pursuant
                                                                                               be a condttion           to 18 release
                                                                                                              of supervised   USC 3583(d)
                                                                                                                                      that the defendant pay
           any such fine
           Schedule      or restitution
                    of Payments            that in
                                     set forth   remains   unpaid
                                                   this judgment.               at the commencement          of the term of supervised          release     in accordance        with the


       The defendant shall comply with the standard                          conditions       that have been adopted      by this court.       The defendant       shall also comply
  with any special conditions imposed.


                                              STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant     shall not leave the judicial            district    without   the permission      of the court or probation         officer;
 2)       the defendant shall report to the probation                officer and shall submit a truthful           and complete      written report within the first five days
          of each month;

 3)       the defendant     shall answer      truthfully       all inquiries     by the probation      officer and follow the instructions           of the probation           officer;
 4)       the defendant     shall support     his or her dependents              and meet other family responsibilities;
 5)       the defendant shall work regularly                at a lawful occupation,        unless excused     by the probation      officer for schooling,          training,    or other
          acceptable reasons;
 6)       the defendant     shall notify the probation            officer at least ten days prior to any change               in residence     or employment;
 7)       the defendant shall refrain from excessive                 use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
          controlled substance or any paraphernalia                  related to any controlled substances, except as prescribed by a physician;
 8)       the defendant     shall not frequent        places where controlled             substances    are illegally     sold, used, distributed,         or administered;
 9)
          the a defendant
          of               shall granted
                 felony, unless   not associate  with any
                                           permission      persons
                                                       to do  so by engaged   in criminal
                                                                    the probation   officer; activity                   and shall not associate      with any person convicted

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                    and shall permit confiscation
          of any contraband observed In plain view of the probation officer;
II)       the defendant     shall notify the probation            officer      within seventy-two       hours of being arrested       or questioned          by a law enforcement
          officer;

12)       the defendant shall not enter into any agreement                     to act as an informer     or a special     agent of a law enforcement            agency    without      the
          permission of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
          confirm the defendant's   compliance  with such notification requirement.
AO 24513      (Rev. 9/00) Judgment in a Criminal Case
         Sheet 3 - Continued 2 - Supervised Release
      Case  3:03-cr-00850-W Document 553                                 Filed 11/21/06           PageID.3291             Page 4 of 5
                                                                                                          Judgment-Page    ----A- of ----5.
DEFENDANT:                   JOHN JOSEPH ZANE
CASE NUMBER:                 03CR0850-W


                                                   SPECIAL CONDITIONS          OF SUPERVISION

           The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
           The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
           a reasonable manner, by the probation officer or otner law enforcement officer.

           The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.

           The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
           requested.

           The defendantas shall
           medications           participate
                           prescribed        in a program of mental and
                                        by a psychiatrist/physician, health
                                                                         not treatment
                                                                              discontinueas any
                                                                                            directed by the probation
                                                                                                 medication           officer, takeThe
                                                                                                            without permission.     all Court
           authorizes by
           approved    thethe
                            release of theofficer.
                              probation     presentence report andmay
                                                   The defendant   available psychological
                                                                      be required           evaluations
                                                                                  to contribute         to the
                                                                                                to the costs of mental
                                                                                                                serviceshealth provider,
                                                                                                                          rendered  in an as
           amount to be determined by the probation officer, based on the defendant's ability to pay.
           The defendant shall be prohibited from opening accounts or incurring new credit charges or opening additional lines of credit
           without approval of the probation officer.

           The defendant shall not engage in employment or a profession involving fiduciary responsibilities or the solicitation of funds
           from investors or financialmstitutions.

           The defendant
           property        shalldirectly,
                     obtained,   notify the
                                          or collections  unit of theany
                                             indirectly, including    U.S.  Attorney's
                                                                         interest       Office,
                                                                                  obtained      andany
                                                                                            under   theother
                                                                                                        U.S. name,
                                                                                                             Probation  Office,including
                                                                                                                    or entity,   of any interest
                                                                                                                                         a trust, in
           partnership or corporation, until any fine or restitution ordered is paid in full.
           The defendant shall notify the collections unit of the U.S. Attorney's Office and the U.S. Probation Office, before the
           transferring of any interest in property owned directly or indirectly by the defendant.
           The defendant shall cooperate with the Internal Revenue Service in the filing of required tax returns and/or corrected tax
           returns. as reauireo hv law
      Case 3:03-cr-00850-W             Document 553           Filed 11/21/06        PageID.3292           Page 5 of 5

A0245 RESTITUTION, FORFEITURE OR OTHER PROVISIONS OF THE JUDGMENT
============================================================================
DEFENDANT:   JOHN JOSEPH ZANE                                                   JUDGMENT PAGE         5   OF 5
CASE NUMBER: 03CR0850-W



                                          RESTITUTION, FORFEITURE, OR
                                       OTHER PROVISIONS OF THE JUDGMENT

   IT IS SO ORDERED the defendant shall pay restitution for tax year 2002, in an amount not to exceed $95,000.00, through the
   Clerk, U.S. District Court, payable forthwith or through the Inmate Financial Responsibility Program.
